316 F.2d 207
    UNITED STATES of America ex rel. LeRoy COBBv.James F. MARONEY, Superintendent, Western CorrectionalDiagnostic and Classification Center, Pittsburgh, Pa.Undocketed.
    United States Court of Appeals Third Circuit.
    April 17, 1963.
    
      LeRoy Cobb, pro se.
      No appearance for appellee.
      Before BIGGS, Chief Judge, and McLAUGHLIN and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      It would appear that the relator, Cobb, has had his case before us on a number of occasions and that no issue is presented that was not before the United States District Court for the Western District of Pennsylvania in United States ex rel. Cobb v. Cavell, 161 F.Supp. 174 (1958).  This decision was affirmed by us per curiam, 3 Cir., 258 F.2d 946 (1958).  We are of the view now as we were then that the relator's position is not meritorious.  Moreover in respect to his present application the relator has not filed any notice of appeal in the court below and therefore it would be a futile gesture to grant him a certificate of probable cause.  Accordingly the application for the certificate will be denied.
    
    